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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


                                              x
 UNITED STATES OF AMERICA,



        -against                                              Criminal No.: 05-858-02 (WHW)

 GHENET MESFUN                                                ORDER
                                              x

        THIS MATTER having been opened to the Court upon an application by defendant

 Ghenet Mesfun, by the Law Offices of Stephen Turano, Esq., for an Order terminating the terms

 of supervised release, and the Court having considered the submissions and arguments of the

 parties; and it appearing that United States Probation Officer Kellyanne Kelly and the

 government do not oppose defendant’s re
                                      ; and for good and sufficient cause shown;
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        IT IS on this   /< daJOl2, ORDERED that:

        Ghenet Mesfun’s term of sirvised release is hereby t         mated.




                                                  a aarnH.W     ,   .S.D.J.
